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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
BEAUMONT DIVISION

 

Judy Gauthier, et. al. § C.A. NO. 1:07-CV-00012-TH
V. : Judge Thad Heartfield
Union Pacific Railroad Company, et. al. : JURY

ORDER

 

CONSIDERING THE FOREGOING Motion for Partial Summary Judgment
Regarding Survival Action filed by Defendants, Union Pacific Railroad Company, Andrew
F. Granger, Brent Waguespack, Ken Rouse, Jack Mann, and National Railroad Passenger
Corporation d/b/a Amtrak;

IT IS HEREBY ORDERED, ADJUDGED and DECREED that the survival action
claims of the plaintiffs be and the same are dismissed with full prejudice and at plaintiffs’

costs.

 
